         Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 1 of 13



                         THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

JONATHAN LANGLEY                §
     Plaintiff                  §
                                §
v.                              §                        CASE NO. 1:18-CV-00443-LY
                                §
INTERNATIONAL BUSINESS MACHINES §
CORPORATION                     §
     Defendant                  §

              PLAINTIFF’S RESPONSE TO IBM’S MOTION TO
       COMPEL DEPOSITION TESTIMONY AND MOTION FOR SANCTIONS

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES, Plaintiff, Jonathan Langley, and submits this Response in Opposition to

International Business Machines Corporation’s (“IBM”) Motion to Compel Deposition

Testimony and for Sanctions (Docket No. 59).

                                I.
            BACKGROUND AND SUMMARY OF PLAINTIFF’S POSITION

       IBM has filed a motion to compel the identity of any individual employed by IBM who

provided Langley documents after he was terminated that clearly show that IBM engaged in

illegal discrimination against older workers. These documents consist of mere excerpts and

screenshots of PowerPoint presentations for Spring and Fall Plan documents presented to IBM

executives for each IBM Group. Langley requested IBM produce the entirety of these documents

through discovery so he could ask questions about the documents from the people who

generated, received, and acted upon them, but to date IBM has refused. Those are the persons

who need to be identified and questioned, not the irrelevant individuals who merely couriered

excerpts of the documents to Langley.




	                                             1
                                                                                Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 2 of 13



IBM’s motion is totally without merit for the following reasons:

                              1. IBM claims it must know the identity of the document courier to prepare its defense. This

                                                            is simply not true. IBM has full access to any and all information regarding these

                                                            documents because these are their documents. If IBM wants to know what a word therein

                                                            means, the dates the documents were created, or whether they were drafts or final

                                                            versions, all of that information is already within its possession and control.

                              2. Under Fifth Circuit precedent, the documents couriers’ identity is “utterly irrelevant” to

                                                            any claim or defense in this case because there is no legitimate reason IBM needs the

                                                            identity of the document provider(s). IBM simply wishes to obtain this information to

                                                            take retaliatory actions against the document provider(s) who are still employed at IBM.

                                                            At the very least, the disclosure of these persons’ identities would have a “chilling effect”

                                                            on any future disclosures of documents showing illegal behavior, an obvious benefit to

                                                            IBM in defending discrimination lawsuits pending across the nation, and an ongoing

                                                            EEOC investigation into its conduct.

                              3. These individuals qualify as informants under the “informant privilege” because Langley

                                                            was a conduit for providing these incriminating documents to the EEOC to aid the

                                                            government with its active investigation of IBM’s illegal conduct.

                              4. IBM claims Langley relies on information from the document provider(s) to establish his

                                                            case. This representation in Ms. Marshall’s affidavit is simply inaccurate. The deposition

                                                            transcript speaks for itself.1. Langley’s deposition is devoid of instances where Langley

                                                            relies on the document provider(s)’ statements or interpretations. Much to the contrary,

                                                            when counsel for IBM asked Langley questions regarding terms in a document, Langley


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
1
         See generally Ex. 4.


	                                                                                                                                                                                                                                                       2
                                                                                Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 3 of 13



                                                            provided his own understanding of the term and the basis of that understanding. 2

                                                            Throughout the entire six plus hour deposition there was only one-instance Langley

                                                            referenced the document provider’s input, which was after a series of five questions about

                                                            his understanding of the documents. In response to the fifth question, Langley was asked

                                                            whether anyone had confirmed his understanding of the information, and Langley

                                                            responded that someone had, but refused to disclose that person’s identity under the

                                                            informant privilege.3

                              5. To the extent IBM claims that not knowing the document provider’s identity impeded its

                                                            ability to ask deposition questions, the transcript shows otherwise. Langley’s attorney

                                                            specifically told IBM’s counsel she could ask him questions about the documents, what

                                                            the documents mean, and the basis of his understanding of the documents.4

                              6. Lastly, IBM effort to compel the identity of the document courier is a tactic IBM has

                                                            unsuccessfully employed in past employment litigation. It is just another example of their

                                                            tactic to further delay and avoid meaningful discovery as well as to increase the litigation

                                                            costs for Langley.

                                                                                                                                                                                                                                                            II.
                                                                                                                                                                                                                                                         EXHIBITS

•                             Exhibit No. 1 -Plaintiff Lomax’s Motion for Protective Order, requesting protection from
                              IBM’s discovery questions attempting to demand identities of confidential informants.
•                             Exhibit No. 2 -Plaintiff Lomax’s Memorandum of Law in Opposition To Defendants Motion
                              to Compel Answers to Their First Set of Interrogatories and in Support of Plaintiffs’ Motion
                              for a Protective Order Concerning Confidential Witnesses.
•                             Exhibit No. 3 -Southern District of New York Order Denying IBM Motion to Compel.
•                             Exhibit No. 4 -Deposition Transcript of Jonathan Langley.
•                             Exhibit No. 5 -Transmission of IBM planning documents to the EEOC.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
2
  Id. at 136.
3	  Id.
      at 249. 	  
4
  Id. at 153-154 and 249.


	                                                                                                                                                                                                                                                          3
                                                                                Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 4 of 13



                                                                                                                                                                                                                                                III.
                                                                                                                                                                                                                                     ARGUMENTS AND AUTHORITIES

                              A. The identity of informant(s) who gave Langley and the EEOC these IBM planning
                                 documents are utterly irrelevant and will serve no purpose other than facilitating
                                 retaliation by IBM against the informants.

                                                            The specific identity of a person who took screenshots of IBM’s planning documents and

then provided them to Langley, and in turn to the EEOC, is utterly irrelevant to this case. IBM

can access any and all information needed for its defense related to these documents already,

because these are IBM documents created by IBM employees. If IBM wants to discover what is

meant by a directive to change the Early Professional Hire seniority mix ratios within Hybrid

Cloud, IBM already knows which IBM employee wrote the directive in question and can ask that

person. If IBM wants to know whether the Hybrid Cloud document fragment was a rough or

final draft, IBM has access to who wrote the various versions of the document and can compare

the drafts and final versions, all of which are in its possession.5 If IBM wants to know whether or

not an executive specifically targeted Langley’s five-person team for layoffs because his team

was comprised exclusively of older workers and would help lower the age demographics of

Hybrid Cloud, IBM can ask the employee that chose Langley’s team for layoffs. There is no

material information not already known or possessed by IBM. The identity of a confidential

informant is utterly irrelevant and immaterial to claims or defenses in this case. IBM merely

wants to obtain the informant’s identity for the purpose of retaliating against employees who

would dare expose IBM’s illegal acts to the public. IBM’s retaliatory purpose is one of

harassment and abuse. Neither harassment nor abuse are proper purposes of discovery under the




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
5
  Which, notably, have still never been produced to Langley despite this Court’s Order from two weeks ago setting
the approximate scope of discovery as encompassing Hybrid Cloud, and despite IBM’s demand to be able to ask
questions in discovery about the same high level planning documents in this motion.


	                                                                                                                                                                                                                                                       4
                                                                                Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 5 of 13



law, and allowing such a purpose to compel discovery here would set a dangerous, chilling

precedent deterring citizens from exposing bad actors in the future.6

                                                            To date, IBM has refused to produce the remaining portions of the high-level planning

documents at issue–whether from Hybrid Cloud or another division. This seriously calls into

question the validity of IBM’s demand to disclose the identity of the document provider since

IBM simultaneously is taking the position the very same documents are outside of the scope of

discovery.7 Langley and his attorney expressed a willingness to disclose everything he knows or

believes about the documents, including what an informant said about them, only refusing to

disclose information that would reveal the informant’s identity.8 The actual identity of the

document courier is utterly irrelevant and is not reasonably calculated to lead to admissible or

even discoverable evidence. An examination of IBM’s stated reasons for wanting the IBM

informant’s identity fails to withstand even basic scrutiny as it relates to potentially finding

evidence that could ever be used to prove or defend an ADEA case:

                              1. “The identity of individuals that he placed at issue is highly relevant to the
                                 Company’s defense.”9 - This is a broad, conclusory claim with no explicit meaning.
                                 Persons whose identities would be relevant here related to the meaning and significance
                                 of the planning documents include (1) the IBM employees who created the company
                                 policies contained therein, the identities of whom IBM already knows; and (2) the IBM
                                 employees who were expected to act on the headcounts targets contained therein, the
                                 identities of whom IBM already knows.

                              2. “Knowledge of this information will facilitate a full and complete examination of
                                 Langley”10 – This is also a broad, conclusory claim with no explicit meaning. Langley
                                 will not be allowed to offer evidence of anything other persons told him, as that would
                                 clearly be inadmissible hearsay, nor could Langley call such persons as a witness if he
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
6
  See Fed.R.Civ.P. 30(d); see also Ilson v. Marin County Hosp. Dist., 149 F.R.D. 553, 555 (W.D. Tex. 1993).
7
  See Defendant IBM’s Motion for Clarification of January 30, 2019 Order (arguing that the scope of discovery
should be limited to Cloud Worldwide Sales, which would necessarily carve out all of the high-level planning
documents at issue in this motion from being discoverable, as such documents are all from divisions above Cloud
Worldwide Sales and would thus be outside of IBM’s suggested scope of discovery).
8
  Ex. 4, pg. 151-154.
9
  Defendant International Business Machines Corporation’s Motion to Compel Deposition Testimony and for
Sanctions, pg. 3.
10
   Id at 3.


	                                                                                                                                                                                                                                                       5
                                                                                Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 6 of 13



                                                            seeks to protect them under the informant privilege. The only evidence about these
                                                            documents that could be admissible to show the meaning would be the documents
                                                            themselves, the testimony of those who created the documents and the policies within
                                                            them, persons who were expected to carry out those policies, and properly qualified
                                                            experts. IBM already has access to this information.

                              3.                             “It will permit the Company to seek discovery straight from the individual(s) who
                                                            allegedly provided Langley with the information that he claims is at the heart of this
                                                            case.”11 – IBM is welcome to seek discovery from any of its employees, and it knows
                                                            who would possesses information relevant to this case, including who created the
                                                            discriminatory policies and who carried them out. As evidenced in his deposition,
                                                            Langley’s case does not rely on any information obtained from the document provider,
                                                            other than the documents. Therefore the identity of this person would not reveal any
                                                            discoverable information.

                              4. “IBM wants to explore with these individuals whether they made the statements
                                 that Langley attributes to them, and whether they have personal knowledge of the
                                 matters to which they allegedly spoke.”12 – Langley does not attribute any statement to
                                 a document provider and his deposition is devoid of any reliance on statements from the
                                 provider(s). Further, Langley would never be able to offer statements or opinions of
                                 anonymous informants at trial, both for reasons that their outsider opinions are not
                                 relevant and because of his decision to protect their identities.

                              5. “IBM wants to explore Langley’s document’s with these individuals, addressing
                                 (among other things) who authored them, whether they were mere drafts, who
                                 reviewed them, and whether they have anything at all to do with Langley’s
                                 separation.”13 – These are IBM’s own documents. IBM has the ability to effortlessly
                                 manage and access zettabytes of data by its own admission.14 IBM already knows who
                                 authored them, can easily compare them to the final planning documents to determine if
                                 they are drafts or final versions, and knows who was present when the PowerPoint
                                 presentations at issue were presented to its executives. Knowing who specifically gave
                                 those document fragments to Langley and the EEOC is not going to change what IBM
                                 discovers about whether the documents are drafts or final versions, the creators’ intents
                                 behind the policies in the documents, the actions of managers acting on those policies, or
                                 whether those actions affected Langley, and are thus utterly irrelevant to this case.

                              6. “IBM wants to explore whether the individuals have other information that
                                 undercuts Langley’s claims, such as knowledge that Langley made admissions
                                 against interest.”15 -- At best, this is a fishing expedition. When weighed against the
                                 obvious retaliatory purpose, it falls far short. IBM possesses no information to suggest
                                 that Langley potentially made statements against interest, nor has it even suggested what
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
11
   Id at 3.
12
   Id at 3.
13
   Id at 3.
14
   https://www.ibm.com/analytics/hadoop/big-data-analytics
15
   Defendant International Business Machines Corporation’s Motion to Compel Deposition Testimony and for
Sanctions, pg. 3.


	                                                                                                                                                                                                                                                       6
                                                                                Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 7 of 13



                                                            such a statement might look like in an ADEA case in this context. The level of mental
                                                            gymnastics required to think of what IBM might find if they get access to informant(s)’
                                                            identity proves why demanding they be disclosed is a fishing expedition rather than a
                                                            relevant discovery request proportionate to the needs of the case.

                              7. “IBM is entitled to discovery of any ‘non-privileged matter that is relevant to any
                                 party’s claim or defense.”16 The identities of the informants of this case have no
                                 reasonably plausible bearing or relevance to the claims or defenses in an ADEA case.
                                 Their identities would not be admissible at trial, nor would their statements or opinions.

                              8. “The Company is permitted…to explore whether these individuals actually made
                                 the statements that Langley would attribute to them.”17 Langley never said that his
                                 opinions are based on what informants told him, as shown by the attached deposition
                                 transcript.18His opinions are based on what the documents say on their face and his
                                 experience at IBM. 19 Moreover, Langley could not offer evidence at trial of what
                                 informants said to him even if he wanted to because it would constitute inadmissible
                                 hearsay.

                                                            IBM has offered no proof of the relevance of confidential informant identities to this case

outside of (1) a vague, nondescript hope of finding grounds to impeach hypothetical testimony

that would never be admissible at trial in the first place, rendering the hunted-for grounds for

impeachment of inadmissible testimony necessarily useless and irrelevant; and (2) allegedly

verifying facts about its own planning documents. Again, these are IBM’s own documents. The

identity of an informant(s) who gave documents to Langley and the EEOC is utterly irrelevant to

the claims and defenses in this case, and public policy would suggest this Court should not set a

precedent allowing companies to obtain the identities of justice-minded confidential informants

that reveal illegal conduct.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
16
   Id at 4.
17
   Id at 7.
18
   See generally Ex. 4.
19
   Defendant International Business Machines Corporation’s Motion to Compel Deposition Testimony and for
Sanctions, pg. 7.


	                                                                                                                                                                                                                                                       7
                                                                                Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 8 of 13



                              B. Fifth Circuit precedent has used the informants’ privilege and a corresponding lack of
                                 relevance to prevent disclosure of confidential informants’ identities.

                                                            In Wirtz, the famed Fifth Circuit Chief Justice Elbert Tuttle held that the identities of

persons who had filed employment law complaints against their employers for violating the Fair

Labor Standards Act did not have to be disclosed because they were protected by the informants’

privilege as well as the sheer irrelevance of their identities in discovery. 20 Extending the

privilege from criminal law to civil litigation, Chief Justice Tuttle wrote that the informants’

privilege “may be invoked where a balancing of conflicting policy considerations shows that the

public interest in protecting the flow of information outweighs the individual’s right to prepare

his defense,” and that “if this type of weighing of conveniences is warranted in an action where

the defendant may be subjected to criminal penalties, it goes without saying that it is appropriate

where only civil remedies are sought.”21 The Court went on to hold that such a balancing test

was not even necessary under that case’s facts, however, because:

                                                            “it is perfectly plain that the names of informers are utterly irrelevant to the
                                                            issues to be tried by the trial court. The question is whether, with respect to
                                                            certain employees, the Act’s requirements as to payment of hourly wages were
                                                            violated. What possible difference does it make who reported to the Secretary that
                                                            violations had occurred? It is entirely possible that the Secretary’s entire case
                                                            could be proved by the use of single witness, such as a bookkeeper or a
                                                            supervisor. However, it may be that ten or twelve employees may have reported
                                                            or informed as to alleged violations. In such circumstances the only conceivable
                                                            need for the names of the informers would be the desire of the employer to know
                                                            who had informed on it. This is not a relevant issue to the cause before the trial
                                                            court.”22


If Chief Justice Tuttle’s balancing test proves necessary here, there is no question that the

interests of henceforth protecting the flow of information about employers’ malfeasance

outweighs any possible benefit IBM would obtain by uselessly learning the identity of the
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
20
   Wirtz v. Continental Finance & Loan Co. of West End, 326 F.2d 561 (5th Cir.1964).
21
   Id at 563.
22
   Id (emphasis added).


	                                                                                                                                                                                                                                                       8
                                                                                Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 9 of 13



confidential informants. As in Wirtz, though, the specific identities of the persons who

confidentially informed on IBM, by simply providing incriminating documents to Langley and

the EEOC, are likewise “utterly irrelevant to the issues to be tried by the trial court,” and such

lack of relevance has already been demonstrated in this response.23 The question to be decided

by this trial Court is whether IBM created a discriminatory employment scheme that caused

Langley to lose his job on the basis of his age. The evidence that will be offered to prove or

disprove that allegation will be the documents themselves and the testimony of the IBM

employees who created and carried out those directives, not the persons who felt morally

compelled to confidentially expose the illegal nature of IBM’s directives. If those persons prove

to be one in the same, which is wholly unlikely, IBM already has access to those persons and has

every right to question them about the relevant issues in this case and to use their testimony

accordingly. There is no legal reason wherein IBM would need to know that such persons were

the source of the disclosure of IBM documents to Langley and the EEOC, leaving retaliation as

the only plausible motive of IBM. Chief Justice Tuttle noted that, “the most effective protection

from retaliation is the anonymity of the informer…[and] the purpose of allowing the informers

privilege in such a case…is to make retaliation impossible.”24 Here, as well, the only way this

Court can ensure that IBM will not retaliate against its employees and consequently deter other

justice-minded persons from coming forward, when an illegal act is encountered in the future, is

to decline to grant IBM’s motion to compel their identities from Langley.

                                                            Accordingly, and in the alternative, Langley hereby moves that this Court grant him a

protective order, pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, to protect the

identities of the confidential informant(s) described in this response and accompanying proposed

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
23
               Id.
24
               Id at 564.


	                                                                                                                                                                                                                                                       9
                                                                           Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 10 of 13



Protective Order, and granting such other and further relief as the Court deems just. Langley is

willing to provide additional briefing on this matter to whatever extent requested by this Court.

                              C. IBM cannot use private litigation to make an “end run” around the EEOC.

                                                            Before filing suit, Langley provided the IBM documents at issue to the EEOC.25 The

EEOC had consolidated all of the individual complaints about IBM, transferred all matters to

New York and was undertaking a large-scale investigation into IBM’s discriminatory practices.26

Courts have long recognized that when a private citizen reveals discriminatory employment

practices, “the private litigant not only redresses his own injury but also vindicates the important

congressional policy against discriminatory employment practices.”27 IBM’s motion to compel

should accordingly be denied to prevent IBM from performing an improper end run around the

EEOC’s ability to effectively shield its confidential informants by compelling such disclosures

during private litigation wherein the EEOC is not a party.


                              D. This is not the first time IBM has filed a motion to compel a plaintiff to disclose the
                                 identity of a confidential informant, nor would it be the first time a court denied its
                                 demand to do so.

                                                            IBM’s motion to compel is another iteration of its playbook exhibited in Iacano and here,

which has consisted of pretrial conduct that unnecessarily drives up legal costs by creating

discovery battles to prevent parties from timely getting to the merits of the case.28 IBM’s motion

to compel herein is not the first time IBM demanded a court compel disclosure of the identities

of IBM employees who served as confidential informants about the company’s illegal practices.

In In re International Business Machines Corp., IBM was faced with a class action lawsuit
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
25
   See generally Ex. 5, which is dated April 13, 2018. Plaintiff did not file his Original Complaint until May 25,
2018.
26
   Federal Watchdog Launches Investigation of Age Bias at IBM, May 17, 2018 available at
https://www.propublica.org/article/federal-watchdog-launches-investigation-of-age-bias-at-ibm.
27	  Alexander v. Gardner-Denver Co., 415 U.S. 36, 45 (1974).	  
28
   28 U.S.C.A. § 1927 empowers this Court to assess costs and attorneys fees against litigants who “so multiplies the
proceedings in any case unreasonably and vexatiously.”


	                                                                                                                                                                                                                                                       10
                                                                           Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 11 of 13



wherein class certification was supported by affidavits from anonymous IBM employees.29 IBM

filed a motion to dismiss, which was denied, and during the hearing on the motion counsel for

IBM demanded, “I want all of his confidential witnesses for deposition as soon as he can

produce them. I’ll take them tomorrow.”30 IBM then served interrogatories on Plaintiffs’ counsel

demanding the informants’ identities and filed a motion to compel, like here, because Plaintiffs

refused to disclose their identities.31 The Plaintiffs in that case submitted detailed briefing about

why the informants’ privilege and basic questions of relevance support shielding their identities,

all of which is incorporated herein by reference in support of Langley’s arguments Within there

is referenced supporting case law from numerous circuit courts, including the Fifth Circuit,

which all recognized that compelling disclosure of informants “could deter informants from

providing critical information to investigators in meritorious cases or invite retaliation against

them.”32 The Court ultimately denied IBM’s Motion to Compel disclosure of the identities of the

confidential informants in that case.33 Langley asks that this Court do the same.

                                                                                                                                                                                                                                                         PRAYER FOR RELIEF

                                                            WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that the Court

deny IBM’s Motion to Compel Deposition Testimony and for Sanctions.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
29
   Ex. No. 1, p. 1-7.
30
   Ex. 2, p. 2.
31
   Ex. 2, p. 1-7.
32
   Ex. 2, p. 9.
33
   Ex. 3, p. 1.


	                                                                                                                                                                                                                                                              11
       Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 12 of 13



                                          Respectfully submitted,




                                          ___________________________________
                                          Heidi A. Coughlin
                                          State Bar No. 24059615
                                          Archie Carl Pierce
                                          State Bar No. 15991500
                                          Blair J. Leake
                                          State Bar No. 24081630
                                          WRIGHT & GREENHILL, P.C.
                                          900 Congress Avenue, Suite 500
                                          Austin, Texas 78701
                                          512/476-4600
                                          512/476-5382 (Fax)
                                          HCoughlin@w-g.com
                                          CPierce@w-g.com
                                          BLeake@w-g.com

                                          Charles A. Lamberton*
                                          Lamberton Law Firm, LLC
                                          Pa. Bar I.D. No. 78043
                                          707 Grant Street
                                          1705 Gulf Tower
                                          Pittsburgh, PA 15219
                                          412-258-2250
                                          cal@lambertonlaw.com
                                          *Admitted Pro Hac Vice

                                          Attorneys for Plaintiff
                                          Jonathan Langley




	                                   12
         Case 1:18-cv-00443-LY Document 67 Filed 02/15/19 Page 13 of 13



                           PROTECTIVE ORDER CERTIFICATION

       Pursuant to Rule 26(c), Plaintiff’s counsel certifies that the movant has in good faith

conferred or attempted to confer with other affected parties in an effort to resolve the dispute

without court action.




                                                      ___________________________________
                                                      Heidi A. Coughlin




                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 15, 2019, I electronically filed the foregoing Response

In Opposition with the Clerk of Court using the CM/ECF system, which sent notification of such

filing to the Court and Defendant’s counsel.




                                                      ___________________________________
                                                      Heidi A. Coughlin




	                                               13
